Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 1 of 17 PageID 147




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

   UNITED STATES OF AMERICA

   v.                                     CASE NO. 6:20-cr-97-Orl-31LRH

   JOEL MICAH GREENBERG

          GOVERNMENT’S MEMORANDUM IN OPPOSITION TO
           AMENDED MOTION FOR A BILL OF PARTICULARS

                              I. INTRODUCTION

         From the beginning of this case, the defendant has known who the

   victim identified in Counts One and Two is. 1       At the defendant’s initial

   appearance, the United States requested that the defendant have no contact

   with the victim.    In response, the defendant advised that the defendant

   expected to have contact during campaign events with the person who he

   believed the victim might be. As a result of that response, the Magistrate

   Judge ordered “[n]o direct or indirect contact with the victim of the offense,

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           For purposes of this response, the United States will use the term
   “victim” to refer to the victim identified as the “school employee” in Counts
   One and Two of the Superseding Indictment. The day after the defendant filed
   his Amended Motion for a Bill of Particulars, the defendant was charged in a
   Superseding Indictment, which added new identity theft-related charges for two
   new victims. The defendants knows the identities of those victims, because the
   defendant used their identities to produce two fake driver’s licenses with his
   photograph and his victims’ personal information. The defendant also has
   been provided with discovery that identities those victims and that establishes
   that the defendant used his former position as the Seminole County Tax
   Collector to steal the personal information of those victims.
                                           1
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 2 of 17 PageID 148




   aside from contact in connection with public campaign events and public

   matters associated with the campaign.” Doc. 8, at 5. The defendant has

   never expressed any issue in abiding by this term of his conditions of release.

         Since the defendant’s initial appearance, the United States has timely

   provided over 5,300 pages of documents in discovery. In that discovery, the

   victim is identified, by first or last name, on over 400 occasions. The discovery

   also identifies, by name, in over 300 places the school where the victim works.

   If there was any ambiguity on either of those points, the discovery includes

   copies of the imposter Facebook account that the defendant established using

   the false identity of a teacher at the school where the victim works and the

   imposter Twitter account that the defendant established using the name and

   photograph of the victim.

         The Eleventh Circuit has consistently held that “a defendant is not

   entitled to a bill of particulars where the information sought has already been

   provided by other sources, such as the indictment and discovery.” United

   States v. Davis, 854 F.3d 1276, 1293 (11th Cir. 2017). The Eleventh Circuit also

   has denied requests for bills of particulars that seek to require the United States

   to detail its evidence and theories of the case. The result should be the same

   here, and the defendant’s Amended Motion for a Bill of Particulars should be

   denied.

                                           2
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 3 of 17 PageID 149




                          II. STATEMENT OF FACTS

         A.     Overview of Charges and Motion for Bill of Particulars

         On July 15, 2020, a federal Grand Jury returned a Superseding

   Indictment charging the defendant, Joel Micah Greenberg, with stalking, in

   violation of 18 U.S.C. § 2261A (Count One); unlawful use of a means of

   identification of another person, in violation of 18 U.S.C. § 1028(a)(7) (Count

   Two); production without lawful authority of an identification document and a

   false identification document, in violation of 18 U.S.C. § 1028(a)(1) (Counts

   Three and Four); and aggravated identity theft, in violation of 18 U.S.C. §

   1028A (Counts Five and Six). Doc. 28.

         The defendant’s Amended Motion for a Bill of Particulars relates only to

   the victim for Counts One and Two. In his Motion, the defendant asserts that

   “there is no good reason to require Mr. Greenberg to guess which of the

   thousands of school employees in the Middle District of Florida might be the

   ‘school employee,’ whose existence is alleged in this indictment, or the name of

   the school which employed him and which allegedly received letters about ‘the

   school employee.’” Doc. 26, at 7. The defendant is concerned that “at trial,

   the government might seek to introduce evidence related to an alleged victim

   whom Mr. Greenberg did not anticipate” and that “whether Mr. Greenberg is

   aquitted or convicted of stalking a victim identified at trial, this vague

                                          3
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 4 of 17 PageID 150




   indictment would not permit him to assert a double jeopardy defense if the

   government elects to prosecute the same charges relating to a different school

   employee.” Id. at 7. The defendant notes that there are “more than 25,000

   persons” employed in the Orange County Public School System and that there

   are many more in the 35 counties that comprise this District. Id. at 7 n. 5.

         The defendant expresses the same concerns about the identity of the

   school where the victim works. In addition, the defendant wants the United

   States to set out its theory of the case as to how the defendant “caused the ‘very

   concerned teacher’ account and posts to be made as alleged in paragraph 4” and

   to itemize its evidence as to the “specific posts on any social media platform

   and the mailings that the government asserts violated the law.” Id. at 9. The

   defendant also requests that the Government be ordered to advise the defendant

   on an ongoing basis if it determines the beginning date of the defendant’s

   offense is earlier than the date set out in the Superseding Indictment

   (“Beginning on or about a date unknown to the Grand Jury, but not later than

   on or about October 10, 2019”). Id.

         B.     Overview of Count One

         Count One alleges that the defendant engaged in a course of conduct that

   caused substantial emotional distress to another person.          The person is

   identified as “a political opponent who worked at a school located in the

                                           4
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 5 of 17 PageID 151




   Middle District of Florida (referred to herein as the ‘school employee’).” Doc.

   28, at 1. The Superseding Indictment advises the defendant that “[a]s part of

   that course of conduct, Greenberg caused letters to be sent to the school where

   the school employee worked” and that “[t]he letters falsely represented that

   they were being sent by an anonymous ‘very concerned student’ of the school

   who had information that the school employee had engaged in sexual

   misconduct with a particular student, which Greenberg knew was false.” Id.

          The discovery provided in the case identifies the victim by name. It also

   identifies the school where the victim works. The discovery includes copies of

   the nine letters that were sent to the school, as well as extensive information

   about the fingerprint and DNA evidence that prove that the defendant

   committed the offenses.

          As for the content of the letters, the defendant has received that in

   discovery as well. In those letters, the fictitious “very concerned student”

   accuses the victim, by name, of repeatedly sexually assaulting a student, both

   orally and anally, and recording one of the assaults using a cell phone. Each of

   the nine letters includes a fake document that was made to appear to be from

   the victim’s Facebook account.        In the fake document, the victim is

   represented as telling the student, “Please remember to keep this a secret. I

   could go to jail.”

                                          5
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 6 of 17 PageID 152




         The defendant’s “course of conduct” was not limited to the nine letters.

   As part of his course of conduct, the defendant caused a Facebook account to

   be set up that claimed to belong to a “very concerned teacher” at the school

   where the victim worked. Those postings falsely represented, among other

   things, that the victim had been involved in the “rape of a male student who

   came to [the victim] to seek counsel on the student’s sexuality” and that the

   victim had videotaped one of the “sexual encounter[s]” with the student.

         The discovery in the case includes a copy of the imposter Facebook

   account obtained pursuant to a federal search warrant and screen shots of the

   various posts that were made using the false identity of a teacher at the victim’s

   school. As with the letters, there is no ambiguity as to who the victim is. A

   search of the warrant return for the Facebook account shows that the victim’s

   name is used in 25 different places, including in postings where the defendant

   falsely accused the victim, by name, of sexual misconduct involving a student.

   The name chosen by the defendant for the imposter Facebook account uses the

   name of the school where the victim works. In fact, the name of that school

   can be found in over 40 separate places in the Facebook search warrant return.

         The situation is similar for the imposter Twitter account. The defendant

   caused an imposter Twitter account to be set up using the victim’s name and

   photograph for the purpose of transmitting posts that falsely represented,

                                           6
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 7 of 17 PageID 153




   among other things, that the victim was a segregationist and in favor of white

   supremacy. The fact that the imposter Twitter account was used with the

   victim’s name and photograph puts the defendant on notice as to who the

   victim is. As with the imposter Facebook account, the victim is identified, by

   name, in the Twitter search warrant return.

         All of this is already known by the defendant.        As detailed in the

   discovery in this case, the defendant established the imposter Facebook and

   Twitter accounts at his residence. The IP address used to open both accounts

   comes back to his home. In addition, for the email account that was used to

   set up the imposter Twitter account, the defendant provided an email address

   that used his personal email domain (@joelgreenberg.net).

         The discovery also details some of the impacts that the defendants’

   crimes have had on the victim. The defendant’s motive was to falsely allege

   that the victim had committed a terrible crime to get law enforcement to

   investigate the victim.   The defendant’s plan work.        Law enforcement

   investigated the victim, and the victim took administrative leave from work.

   After investigating the matter, local authorities found that there was no

   evidence that the school employee had committed any criminal activity against

   a child and concluded the allegations were unfounded.



                                         7
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 8 of 17 PageID 154




         The United States has provided a number of other items in discovery in

   this case, including an interview summary of the victim where the victim is

   identified by name on over 35 occasions, files received from the investigation by

   local authorities, and evidence related to the Rule 404(b) notice regarding the

   defendant’s other thefts of the personal information of other victims. The

   United States also has summarized much of the evidence in the case in the

   portions of the various search warrant affidavits that relate to the stalking

   investigation.

         The discovery notifies the defendant that the beginning date of the

   offense corresponds to the postmark on the first envelope that was mailed to the

   victim’s school, which was October 10, 2019. The discovery also advises the

   defendant that probable cause has been found that he was involved in a

   conspiracy. The defendant has been provided with the portions of federal

   search warrants related to the stalking investigation where his unindicted

   conspirator is identified, by name, in 15 places.

               III. ARGUMENT AND CITATION OF AUTHORITIES

         The defendant’s motion for a bill of particulars should be denied. “The

   purpose of a true bill of particulars is threefold: ‘to inform the defendant of the

   charge against him with sufficient precision to allow him to prepare his defense,

   to minimize surprise at trial, and to enable him to plead double jeopardy in the

                                           8
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 9 of 17 PageID 155




   event of a later prosecution for the same offense.’” United States v. Anderson, 799

   F.2d 1438, 1441 (11th Cir. 1986) (quoting United States v. Cole, 755 F.2d 748, 760

   (11th Cir. 1985)). If an indictment sufficiently apprises the defendant of the

   charges and allows the defendant to prepare for trial, no bill of particulars is

   warranted. See United States v. Sherriff, 546 F.2d 604, 606 (5th Cir. 1977).

         That is the case here. The Superseding Indictment does not allege that

   the victim is some unidentified person among the thousands of school

   employees in the Middle District of Florida.           Instead, the Superseding

   Indictment identifies the victim as a very specific person. The Superseding

   Indictment identifies the victim by the following (Doc. 28, at 1-3):

          The victim is “a political opponent who worked at a school located in
           the Middle District of Florida.”

          The victim is the person about whom Greenberg sent letters to the
           school where the victim works that falsely accused the victim of
           “engag[ing] in sexual misconduct with a particular student.”

          The victim is the person about whom Greenberg established an
           imposter Facebook that claimed to belong to a “very concerned
           teacher” at the school where the victim works, which Greenberg used
           to falsely allege that the victim had engaged in sexual misconduct
           with a student.

          The victim is the person about whom Greenberg established an
           imposter Twitter account using the victim’s name and photograph,
           which Greenberg used to falsely represent that the victim was a
           segregationist and in favor of white supremacy.



                                            9
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 10 of 17 PageID 156




          Through the detailed allegations included in Count One, it is clear that

    there are not “thousands of school employees in the Middle District of Florida”

    who could be the victim in the case. There is only one.

          Even if the Superseding Indictment were not detailed about the victim’s

    identity, the discovery in the case does so.2 As noted above, the victim is

    identified, by first or last name, in over 400 places in the discovery. The name

    of the school is referenced over 300 times.           The Eleventh Circuit has

    consistently recognized that “a defendant is not entitled to a bill of particulars

    where the information sought has already been provided by other sources, such

    as the indictment and discovery.” Davis, 854 F.3d at 1293; see also United States

    v. Roberts, 2006 WL 827293, at *2 (11th Cir. Mar. 30, 2006) (“A bill of

    particulars is not required where the information sought has already been

    provided by other sources, such as the indictment and discovery.”). Given the

    detailed nature of the identification of the victim and the victim’s school in the

    Superseding Indictment and the hundreds of references to the victim and the

    school in the discovery that the defendant has received, the defendant’s request


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             On July 14, 2020, the United States timely provided its discovery
    related to the Indictment. Defense counsel did not have the benefit of that
    discovery prior to filing their motion, because Rule 7(f) set the deadline for their
    motion for the same date that discovery was due. Given that the defendant
    now has the discovery regarding the various items covered in its Motion, the
    United States respectfully submits that the defendant’s Motion should be
    denied.
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Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 11 of 17 PageID 157




    for a bill of particulars regarding the identities of the victim and the school

    where the victim works is without basis and should be denied.

          As for the defendant’s requests to compel the United States to itemize

    “the specific posts on any social media platform and the mailings that the

    government asserts violated the law” and to set forth its theory as to “how Mr.

    Greenberg caused the ‘very concerned teacher’ account and posts to be made as

    alleged in paragraph 4” (Doc. 26, at 9), the Eleventh Circuit has held that these

    types of request are “not an appropriate basis for seeking a bill of particulars:”

          Holzendorf sought a bill of particulars detailing every single
          misrepresentation the government intended to show at trial. That
          request was nothing more than a thinly veiled attempt to have the
          government make a detailed disclosure of the evidence that it planned to
          introduce at trial. That is not an appropriate basis for seeking a bill of
          particulars.

    United States v. Holzendorf, 576 Fed. App’x 932, 935-36 (11th Cir. Aug. 14, 2014).

          “A bill of particulars may not be used ‘to obtain a detailed disclosure of

    the government’s evidence prior to trial.’” Davis, 854 F.3d at 1293 (quoting

    United States v. Perez, 489 F.2d 51, 71 (5th Cir. 1973)). And it is “not designed to

    compel the government to detailed exposition of its evidence or to explain the

    legal theories upon which it intends to rely at trial.” United States v. Burgin, 621

    F.2d 1352, 1359 (5th Cir. 1980). Applying those principles, the defendant’s

    requests for the United States to detail its evidence and theory of the case should

    be denied.
                                            11
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 12 of 17 PageID 158




          Nevertheless, as is the case with the identities of the victim and the

    school, the United States already has provided the defendant, through the

    Superseding Indictment and discovery, with the information and evidence that

    the defendant needs to “minimize surprise at trial” as to what his “course of

    conduct” was. In the Superseding Information and the discovery, there is

    information and evidence related to the defendant’s use of the false letters, the

    imposter Facebook account, the imposter Twitter account, and the efforts of an

    unindicted conspirator to conspire with the defendant to perpetrate the offense,

    among other things. The defendant also has been provided with an array of

    evidence that establishes his personal participation in the offenses, including

    evidence related to his fingerprints and DNA, the use of the IP address for his

    residence to establish the imposter Facebook and Twitter accounts, and the use

    of his own email domain for the email account that was used to open the

    imposter Twitter account, among other things. Nothing more is required.3




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            At any rate, with respect to the letters and the imposter Facebook and
    Twitter accounts, the defendant should assume that the United States will seek
    to introduce at trial all of the contents of the letters and the imposter Facebook
    and Twitter accounts and any of the other evidence related to those items. The
    defendant sent the letters and established the imposter Facebook and Twitter
    accounts for the purpose of falsely accusing the victim of a crime, promoting the
    false allegations, and harassing, intimidating, and causing substantial
    emotional distress to the victim. It is not a situation where either of those
    accounts served any legitimate purpose.
                                              12
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 13 of 17 PageID 159




          To the extent that the defendant is seeking information about any

    unindicted conspirators, the defendant already has been provided with that

    information.   Portions of the search warrant affidavit for the defendant’s

    residence relating to the stalking investigation identify an unindicted

    conspirator by name, and the warrant reflects the fact that probable cause has

    been found that the defendant conspired with that unindicted conspirator.

          The defendant has no basis for seeking any further disclosures. With

    respect to unindicted conspirators, “[a] bill of particulars is a proper procedure

    for discovering the names of unindicted coconspirators who the government

    plans to use as witnesses.” United States v. Barrentine, 591 F.2d 1069, 1077 (5th

    Cir. 1979). Even then, the Eleventh Circuit has denied requests, such as the

    type of requests made by the defendant in this case, to identify the

    Government’s witnesses or unnamed conspirators. See Anderson, 799 F.2d at

    1442 (stating that “a defendant has no right to obtain a list of witnesses by

    simply calling his request a ‘bill of particulars’”); Colson, 662 F.2d at 1391

    (finding that a defendant “in essence . . . complains not of any harm but of a

    denial of a form of discovery” in not obtaining a bill of particulars to identify

    unindicted conspirators and the dates and locations of relevant acts where the

    defendant knew the identity of the unindicted conspirators who the government

    called as witnesses at trial and impeached them).

                                           13
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 14 of 17 PageID 160




           Regardless, none of this is an issue in this case. The United States does

    not intend on calling any unindicted conspirators as witnesses.           If that

    changes, the United States will notify the defense through the normal discovery

    process. Moreover, the United States already has identified, by name, an

    unindicted conspirator.     Under these circumstances, there is no basis for

    directing the United States to issue a bill of particulars.

           Lastly, the defendant cites no authority for seeking to compel the United

    States to provide a bill of particulars in the future if the beginning date of the

    defendants’ course of conduct “become[s] known to the government.” Doc.

    26, at 9. Such a request is inconsistent with the law regarding the charging of

    dates in an indictment.        In particular, the 11th Circuit’s Pattern Jury

    Instructions recognize that the “Government doesn’t have to prove that the

    crime occurred on an exact date,” but “only has to prove beyond a reasonable

    doubt that the crime was committed on a date reasonably close to the date

    alleged.” 11th Circuit Pattern Instructions, Basic Instruction No. 9.1A (2017).

           A denial of such a prospective bill of particulars will not prejudice the

    defendant in this case. The defendant has received in discovery, and will

    continue to receive in discovery, evidence and information related to the

    beginning date of his offense. There is no need to order a perpetual bill of

    particulars to provide the defendant with the same information that the

                                             14
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 15 of 17 PageID 161




    defendant will receive through discovery. Indeed, “generalized discovery is

    not a proper purpose in seeking a bill of particulars,” and the defendant’s

    request for one in this case should be denied. See Colson, 662 F.2d at 1391

    (citing United States v. Davis, 582 F.2d 947, 951 (5th Cir. 1978)).

          In sum, the defendant’s request for a bill of particulars is moot, because

    the defendant has received, and will continue to receive, detailed information in

    the Superseding Indictment and in discovery that will “minimize unfair

    surprise” as to the Government’s case. For the foregoing reasons, the United

    States respectfully requests that the Court deny the defendant’s Amended

    Motion for a Bill of Particulars.4




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            In his Motion, the defendant makes allegations that have nothing to do
    with his request for a bill of particulars, such as the fact that the defendant was
    arrested and his residence was searched without advance warning. The
    United States will not take the time to respond to that allegation or any of the
    others, except to note that the defendant’s criticisms are unfounded. The
    defendant has been treated no differently than any other defendant who
    continues to commit crimes while under investigation, whose case involves a
    victim, and who is a likely candidate to destroy or hide evidence if given
    advance warning about a search warrant.
                                             15
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 16 of 17 PageID 162




          Date: July 29, 20205

                                          Respectfully submitted,

                                          MARIA CHAPA LOPEZ
                                          United States Attorney


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             This is being refiled to link this response in CMECF to the Amended
    Motion (Doc. 26). It was inadvertently linked to the Motion (Doc. 25) when
    initially filed.
                                              16
Case 6:20-cr-00097-GAP-LRH Document 38 Filed 07/29/20 Page 17 of 17 PageID 163




    U.S. v. GREENBERG                         Case No. 6:20-cr-97-Orl-31LRH

                             CERTIFICATE OF SERVICE

           I hereby certify that on July 29, 2020, I electronically filed the foregoing

    with the Clerk of the Court by using the CM/ECF system which will send a

    notice of electronic filing to the following:

           Mark L. Horwitz
           Vincent A. Citro

                                              Respectfully submitted,

                                              MARIA CHAPA LOPEZ
                                              United States Attorney


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                                             17
